
The People of the State of New 
	York,againstDamon Joyner, Defendant-Appellant.



Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Sandra Elena Roper, J.), rendered July 5, 2018, convicting him, upon his plea of guilty, of assault in the third degree, and imposing sentence.




Per Curiam.
Judgment of conviction (Sandra Elena Roper, J.), rendered July 5, 2018, affirmed.
Defendant's claim that his plea was coerced as a result of the prosecutor's "overcharge" of the case is unpreserved for our review, since he did not make an appropriate postallocution motion (see People v Conley, 135 AD3d 1238, 1239 [2016]), and this claim does not come within the narrow exception to the preservation requirement, inasmuch as defendant did not make any statements during the plea colloquy that cast doubt upon his guilt or otherwise called into question the voluntariness of his plea (see People v Cajigas, 123 AD3d 1299, 1300 [2014]). We decline to review the claim in the interest of justice. As an alternative holding, we find that defendant's unsupported claim of coercion is belied by the record, which reflects that the plea was entered in a knowing, intelligent and voluntary manner with the assistance of counsel. In any event, the only relief defendant requests is dismissal of the accusatory instrument rather than vacatur of the plea, and he expressly requests that this Court affirm the conviction if it does not grant a dismissal. Since we do not find that dismissal would be appropriate, we affirm on this basis as well (see People v Vargas, 162 AD3d 531 [2018], lv denied 32 NY3d 942 [2018]).
Defendant is not aggrieved by alleged defects in felony charges that were dismissed on the People's motion as part of the plea (see CPL 470.15[1]; People v Ruiz, 146 AD3d 417 [2017], lv denied 28 NY3d 1188 [2017]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur
Decision Date: January 17, 2020










